
1 N.Y.2d 691 (1956)
Mannie Fried, Appellant, and Gussie Fried, Respondent,
v.
Sidney Korn, Respondent-Appellant.
Court of Appeals of the State of New York.
Argued January 13, 1956.
Decided March 22, 1956.
Bernard Meyerson, Irving Klein and Herman E. Hoberman for plaintiff-appellant and plaintiff-respondent.
John Nielsen and John P. Smith for respondent-appellant.
Concur: CONWAY, Ch. J., DESMOND, FULD and BURKE, JJ. VAN VOORHIS, J., dissents as to Gussie Fried, and votes to dismiss her complaint also upon the ground that there is no evidence of negligence on the part of defendant. Taking no part: DYE and FROESSEL, JJ.
Judgment affirmed; no opinion.
